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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

 TRUSTEES OF THE IBEW LOCAL 7
 PENSION FUND, IBEW LOCAL 7
 ANNUITY FUND, IBEW LOCAL 7
 APPRENTICESHIP & TRAINING FUND,
 IBEW LOCAL 7 LABOR MANAGEMENT
 COOPERATION FUND, and IBEW LOCAL
 7 SUPPLEMENTAL HEALTH AND
 WELFARE FUND; TRUSTEES OF THE
 NEW ENGLAND ELECTRICAL
 WORKERS BENEFIT FUND; TRUSTEES
 OF THE NATIONAL ELECTRICAL                              Case No.:
 BENEFIT FUND; and IBEW LOCAL 7;

           Plaintiffs,

 v.

 COGHLIN ELECTRICAL
 CONTRACTORS, INC.

           Defendant.


                                              COMPLAINT

          1.     This is an action under the Employee Retirement Income Security Act of 1974

("ERISA"), 29 U.S.C. Sections 1132 and 1145, and Section 301 of the Labor Management Relations

Act of 1947 (hereinafter "LMRA"), 29 U.S.C. Section 185, to compel Coghlin Electrical Contractors,

Inc. to make contributions and other payments owed to Plaintiffs.

          2.     Jurisdiction is conferred by 29 U.S.C. Sections 1132(e)(1) and (f); 29 U.S.C. Sections

185(a),(b) and (c); and 29 U.S.C. § 1367.

          3.     Venue lies in this district pursuant to 29 U.S.C. Section 1132(e)(2) and U.S.C. Section

185(c).



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       4.      The IBEW Local No. 7 Pension Fund, the IBEW Local No. 7 Annuity Fund, the Local

No. 7 Apprenticeship & Training Fund, IBEW Local 7 Supplemental Health & Welfare Fund and the

Local No. 7 Labor Management Cooperation Fund (“the Local Funds”) are trusts established in

accordance with 29 U.S.C. §186(c). The Local Funds are employee pension benefit plans, employee

welfare benefit plans, and a labor management fund, as defined by 29 U.S.C. §1002(1) and (2) and 29

U.S.C. §175. The Local Funds are each governed by a Board of Trustees, who are fiduciaries to the

Local Funds as defined by 29 U.S.C. §1002(21) and who are named Plaintiffs in this action. The

principal place of business of the Pension and Annuity Funds is located in Wallingford, CT. The

principal place of business of the remaining Local Funds is located in Springfield, MA.

       5.      Plaintiff IBEW Local No. 7 (the “Union”) is a labor organization with its principal

place of business in Springfield, Massachusetts.

       6.      The New England Electrical Workers Benefits Fund (“NEEWBF”) is a trust,

established in accordance with 29 U.S.C. §186(c), and is an employee welfare benefit plan, as defined

by 29 U.S.C. §1002(1). NEEWBF is governed by Board of Trustees, who are fiduciaries as defined by

29 U.S.C. §1002(21) and who are named Plaintiffs in this action. NEEWBF’s principal place of

business is in Wallingford, CT.

       7.      The National Electrical Benefit Fund (“NEBF”) is a trust, established in accordance

with 29 U.S.C. §186(c), and is an employee pension benefit plan, as defined by 29 U.S.C. §1002(2).

NEEWBF is governed by Board of Trustees, who are fiduciaries as defined as defined by 29 U.S.C.

§1002(21) and who are named Plaintiffs in this action. The principal place of business of NEBF is

located in Rockville, MD.

       8.      The benefit funds identified in paragraphs four, six, and seven (collectively “the

Funds”) are maintained pursuant to a collective bargaining agreement between the Union and more

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than one employer, and is a fund to which more than one employer is required to contribute for all

covered work performed by employees working within the territories defined by the agreement.

       9.      Defendant Coghlin Electrical Contractors, Inc. (the "Employer") is a corporation

incorporated and existing under the laws of the Commonwealth of Massachusetts and having a place of

business in Worcester, Massachusetts.

       10.     The Employer is engaged in an industry affecting commerce as defined in ERISA, 29

U.S.C. Sections 1002(5), (11) and (12), and as defined in LMRA, 29 U.S.C. Sections 152(2), (6) and

(7).

       11.     The Employer is and has been a party to a collective bargaining agreement with the

Union (the “Agreement”) at all times material herein. The Agreement, the trust agreements governing

the Funds and ERISA provide that, in the event the Employer fails to make its required contributions in

a timely fashion, the Employer is obligated to the Funds, in addition to the principal amounts owed, for

interest from the date when the payment was due, liquidated damages and for all costs and reasonable

attorney's fees expended by the Plaintiffs in any action collecting the delinquent contributions.

       12.     The Employer has failed to make contributions and remit employee payroll

withholdings to the Plaintiffs for work performed by its employees as required by the Agreement.

       13.     The Employer and the Plaintiffs entered into a settlement agreement pursuant to which

the Employer acknowledged its delinquency to the Funds, agreed to a payment schedule, and agreed

among other things that, in the event of a default in the payment schedule, the Employer waived any

defenses in an action under ERISA and/or the settlement agreement and would stipulate to a judgment

in such an action (referred to as the “Settlement Agreement”).

                                             COUNT I
                           (Violation of ERISA – Delinquent Contributions)

       14.     The Plaintiffs restate the preceding paragraphs as though fully restated herein.
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       15.     The Employer has failed to make contributions to the Plaintiffs for work performed by

its employees as required by the Agreement, the Settlement Agreement, and 29 U.S.C. Section 1145.

                                            COUNT II
                           (Violation of LMRA – Delinquent Contributions)

       16.     The Plaintiffs restate the preceding paragraphs as though fully restated herein.

       17.     The failure of the Employer to make contributions on behalf of all covered employees

and to remit the dues it deducted from employees’ pay checks as required by the terms of the

Agreement and the Settlement Agreement violates §301 of the Labor Management Relations Act, 29

U.S.C. §185.

                                              COUNT III
                                          (Breach of Contract)

       18.     The Plaintiffs restate the preceding paragraphs as though fully restated herein.

       19.     Employer’s refusal and failure to make payments pursuant to the terms of the

Settlement Agreement breaches its Settlement Agreement with the Funds.


       WHEREFORE, the Plaintiffs demand judgment against the Employer as follows:

       1.      That the Employer be ordered to pay the Plaintiffs the delinquent contributions due the

Plaintiffs plus prejudgment interest from the date when each month's payment was due and liquidated

damages pursuant to 29 U.S.C. Section 1132(g)(2);

       2.      That the Employer be ordered to pay the Plaintiffs’ costs and disbursements, including

its reasonable attorney's fees in this action, pursuant to 29 U.S.C. Section 1132(g)(2);

       3.       That the Employer be ordered to pay the Plaintiffs all amounts owed to the Plaintiffs

pursuant to the Settlement Agreement; and

       4.      That the Plaintiffs receive such other legal or equitable relief as this Court deems just

and proper.
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                                   Respectfully submitted,

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Date: September 9, 2020            /s/ Colby J. Jackson
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